      Case 2:06-cr-00516-RDP-SGC Document 1 Filed 10/31/06 Page 1 of 2                     FILED
                                                                                  2006 Nov-01 PM 03:28
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                                                                              GJ# 24

                                                                     AHM/LDH: NOV. 2006


                 IN THE UNITED STATES DISTRICT COURT

             FOR THE NORTHERN DISTRICT OF ALABAMA

                            SOUTHERN DIVISION


UNITED STATES OF AMERICA                 )
                                         )
            v.                           )
                                         )
BRADY KANE WITCHER                       )



                                 INDICTMENT

COUNT ONE: [18 U.S.C. §922(g)(1)]

      The Grand Jury charges that:

      On or about the 12th day of April, 2006, in Jefferson County, within the

Northern District of Alabama, the defendant,

                          BRADY KANE WITCHER,

after having been convicted on October 30, 1998, in the Circuit Court of Jefferson

County, Alabama, of the offense of Burglary, Third Degree, in case number CC

98-5866, and of the offense of Theft of Property, Second Degree, in case number

CC 98-5867, each of the said offenses being a crime punishable by a term of
      Case 2:06-cr-00516-RDP-SGC Document 1 Filed 10/31/06 Page 2 of 2




imprisonment exceeding one year, did knowingly possess in and affecting

commerce a firearm, that is, a Davis Industries .32 caliber pistol, in violation of

Title 18, United States Code, Section 922(g)(1).

A TRUE BILL

/s/Electronic Signature
FOREPERSON OF THE GRAND JURY

                                           ALICE H. MARTIN
                                           United States Attorney

                                            /s/Electronic Signature
                                            WILLIAM R. HANKINS, JR.
                                            Special Assistant United States Attorney




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